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2017R00153

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     :       Crim. No. 18-505 (RBK)

       v.                                    :       HON. ROBERT KUGLER

KENNETH CRAWFORD JR.                         :

                        UNITED STATES’ PROPOSED VOIR DIRE

       Pursuant to Rule 24(a) of the Federal Rules of Criminal Procedure, the United States

respectfully requests that this Honorable Court include the following proposed voir dire

questions as part of the Court’s examination of prospective jurors:


       1.      The United States of America is represented in this case, as in all federal criminal

cases, by the Department of Justice.   The attorneys for the United States in this case are Sean

Green and John Kane.     They are attorneys with the Department of Justice, Tax Division.      Do

you, a member of your family, or a close friend know Mr. Green or Mr. Kane?        Have you, your

relatives, or a close friend ever had any dealings with the Department of Justice, Tax Division or

the U.S. Attorney’s Office for the District of New Jersey?

       2.      The attorneys will be assisted in the courtroom by Special Agent Christina Barker

of the Internal Revenue Service.   Do you, a member of your family, or a close friend, know Ms.

Barker?

       3.      What follows is a list of names of persons who may be witnesses in this case or

whose names may come up in testimony.        Do you, a member of your family, or a close friend

know any of these persons?    Have you had dealings with any of them?

            a. Aaron Abbatiello, Central Islip, NY
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            b. Robyn Abbatiello, Central Islip, NY

            c. Ting Wai Cheng, Shirley, NY

            d. Constantino Chiarelli, Islip, NY

            e. Bruce Dixon, Willmington, DE

            f. Patrick Fortunato, Shellton, CT

            g. Bernard Jefferson, Neptune, NJ

            h. Bernice Kendall, Bay Shore, NY

            i. Cynthia Scott, Clifton, NJ

            j. Lamont White, Galloway, NJ

       4.      Does anyone on the jury know another juror?       If so, whom do you know and

how?

       5.      Does the fact that someone you know may be on the jury with you in any way

influence your individual decision making abilities?

       6.      This is a federal case, brought in the name of the United States of America.   The

federal government is comprised of many agencies and departments, including the Department

of Justice, the Department of Treasury, and the Internal Revenue Service.    Have you, a member

of your family, or anyone close to you ever had any dealings with the federal government,

including the agencies I mentioned, whether favorable or unfavorable, that might influence your

consideration of the evidence in this case?

       7.      This is a criminal case involving allegations that the defendant (1) conspired to

defraud the United States; (2) made or presented false claims for tax refunds to the Internal

Revenue Service, and (3) attempted to obstruct or impede the due administration of the Internal
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Revenue Laws.      Is there anything about the nature of the charges that would keep you from

being able to sit as a fair and impartial juror in this case?

         8.     Have you, or any relatives or close friends, had an experience or experiences with

the Internal Revenue Service that would make you unable to render a fair and impartial verdict?

         9.     Does anyone hold strong personal or philosophical feelings about the tax system

of the United States?

         10.    Do you believe that the income tax laws of the United States are unconstitutional?

         11.    Do you feel that violations of income tax laws should not be prosecuted as crimes

by the United States?

         12.    Have you, a member of your family, or someone close to you ever been involved

in the criminal justice system, either as a prosecutor, defense attorney, employee of a

prosecutor’s office or defense attorney, probation officer, court officer, or court clerk?

         13.    Have you, a family member, or a close friend been audited or been the subject of

an IRS investigation? If so, do you believe you were treated fairly by the IRS?              Is there

anything about that experience that would render you unable to be fair and impartial in this case?

         14.    Have you, a family member, or someone close to you ever been charged with a

crime?    If so, what was the charge and what was the result?       Do you believe that you or the

person charged was treated fairly?      Is there anything about that experience that would render

you unable to be fair and impartial in this case?

         15.    Have you ever served on a grand jury in either a state or federal court?

         16.    Have you ever served as a juror at the trial of a criminal or civil case in either

state or federal court?
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        17.    Have you, a family member, or someone close to you had an experience,

favorable or unfavorable, with a law enforcement official or with the criminal justice system that

might influence your consideration of this case?

        18.    Do you have any religious, moral, social, political, or philosophical concern about

sitting in judgment of another person such that it would interfere with your ability to judge this

case?

        19.    If you are selected as a juror in this case, you will take an oath to [or affirm that

you can] render a verdict based upon the evidence and the law as instructed to you by the Court.

You will be required to accept the law as given to you by the Court without regard to any

personal opinion you may have as to what the law is or should be.       Is there anyone who would

not be able to reach a verdict in accordance with the evidence and the law as given to you in the

instructions from the Court?

        20.    The law does not compel a defendant in a criminal case to testify, and no

presumption of guilt may be drawn from the fact that a defendant does not testify.        Likewise,

the law never imposes on a defendant any duty to call any witness or produce any evidence. Is

there anyone who would think a defendant is guilty because he or she did not testify or produce

any witnesses or evidence?

        21.    For you to find a defendant guilty, the United States must prove that the defendant

is guilty beyond a reasonable doubt.    The United States is not required to prove the guilt of a

defendant beyond all possible doubt. The law recognizes that the human mind can always

conceive of some doubt as to any proposition. Is there anyone who would require the United

States to prove its case beyond all doubt before he or she could vote for a guilty verdict?
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        22.     Your verdict must be based on the facts of the case—on the evidence. You are

not permitted to consider sympathy, prejudice, vengeance, hostility, fear, or any similar emotion

in reaching your verdict.    Do any of you feel that you could not put such factors out of your

mind when you deliberate on your verdict?

        23.     You are the judges of the facts.    If you find, after considering the evidence and

following my instructions on the law, that a defendant is guilty of one or more of the counts in

the Indictment, it will be my duty, as judge, to determine the punishment, if any. You are not

permitted to consider the possible punishment, if any.     Is there anyone here who would hesitate

to find a defendant “guilty” because of the possibility that the Court may impose a sentence in

this case?

        24.     It is always difficult to estimate how long a trial will take. This trial is estimated

to last approximately six trial days. After the conclusion of the evidence, and once the jury

begins deliberations, jurors have to plan to be at the courthouse until at least 5:00 pm each

afternoon. Does this schedule present so great a hardship that anyone feels he or she cannot be

a juror in this case?

        25.     Do any of you have any problem hearing, speaking, or understanding the English

language, or any other difficulty that would make it hard for you to be a juror in this case?
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        26.    The United States and the defendant are entitled to a fair and impartial jury in this

case.   The sole purpose of these questions is to provide information to the parties about the

prospective jurors to assist the parties in selecting a fair and impartial jury in this case.   Is there

anything else about you, your family, background, work, life experiences, or beliefs, that you

think the parties should know that might help them select a fair and impartial jury?



                                               RICHARD E. ZUCKERMAN
                                               Principal Deputy Assistant Attorney General
                                               U.S. Department of Justice, Tax Division


                                               _/s/Sean M. Green_________________
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CERTIFICATE OF SERVICE

I hereby certify that on this 15th day of April, I filed this notice via ECF and caused a copy to be
mailed to:

Ken Crawford Jr.
Inmate 71800-050
FDC PHILADELPHIA
FEDERAL DETENTION CENTER
P.O. BOX 562
PHILADELPHIA, PA 19105
                                                            By:/s/ Sean M. Green
                                                            SEAN M. GREEN
                                                            Trial Attorney
